          Case 1:22-mj-00022-RMM Document 76 Filed 01/17/23 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA


                                                     )
         UNITED STATES OF AMERICA,                   )
                                                     )
         v.                                          )     Case No. 1:22-MJ-22-RRM
                                                     )
         HEATHER R. MORGAN,                          )
                                                     )
         Defendant,                                  )
                                                     )


                            CONSENT MOTION TO MODIFY
                          CONDITIONS OF PRETRIAL RELEASE
        Heather Morgan, through undersigned counsel, and with consent of the government,

respectfully asks this Court to modify the conditions of pretrial release to permit Ms. Morgan to

work from her employer’s office in New York City on Monday, Wednesday, and Friday between

the hours of 10 AM and 8:30 PM. In support of this motion, Ms. Morgan states as follows:


        1.      Ms. Morgan is currently on pretrial release. Ms. Morgan is under the courtesy

supervision of the U.S. Pretrial Office for the Southern District of New York, with primary

supervision in this District. Ms. Morgan has at all times fully complied with the conditions of

pretrial release.

        2.      Under the current conditions of pretrial release, Ms. Morgan is subject to 24-hour

home incarceration. Conditions of Release ¶ (7)(p)(iii) (ECF 24).
         Case 1:22-mj-00022-RMM Document 76 Filed 01/17/23 Page 2 of 3




       3.      While awaiting resolution of this matter, Ms. Morgan has sought to be productive.

She has received an offer to work for a technology company1 in the role of growth marketing and

business development specialist.

       4.      Ms. Morgan’s employer has recently expanded the company into New York City,

and has requested that Ms. Morgan work from the company’s office Monday, Wednesday, and

Friday from 10 AM until 8:30 PM.

       5.      The government does not object to Ms. Morgan’s request.

       6.      Pretrial Services defers to the Court on this request.2

       For the foregoing reasons, Ms. Morgan respectfully asks this Court to modify the

conditions of pretrial release to allow her to leave home confinement Monday, Wednesday, and

Friday, between 10 AM and 8:30 PM, to work at her employer’s office.

                                                      Respectfully submitted,

                                                      By: /s/ Eugene Gorokhov
                                                      Eugene Gorokhov (D.C. Bar No. 979785)
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1
        The identity and address of the employer have been provided to the government, as well as
Pretrial Services. That information is not noted in this public filing due to the fact that Ms. Morgan
has been subject to disparaging comments and harassment on social media as a result of the intense
media coverage of this case. We respectfully submit that disclosing the identity and location of
Ms. Morgan’s employer would compromise Ms. Morgan’s safety.
2
        As this is a request for modification of an express provision of the conditions of pretrial
release, this request is not covered by the Court’s September 13, 2022 Order (ECF 61).

                                                  2
        Case 1:22-mj-00022-RMM Document 76 Filed 01/17/23 Page 3 of 3




                               CERTIFICATE OF SERVICE
       I hereby certify that I caused this motion to be served upon counsel for the government via

ECF.



                                                             /s/ Eugene V. Gorokhov
                                                             Counsel for Ms. Morgan




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